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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-08-085-RHW-8
                        Plaintiff,              )
 9                                              )
      v.                                        )    ORDER GRANTING DEFENDANT’S
10                                              )    UNOPPOSED MOTION TO MODIFY
      MICHEAL J. CHARLES,                       )
11                                              )
                                                )
12                      Defendants.             )

13         Before the court is the Defendant’s unopposed Motion to Modify

14   Release Conditions.          After reviewing the Motion, the court has

15   determined that good cause exists to grant the Motion.

16         IT IS ORDERED Defendant’s unopposed Motion to Modify Release

17   Conditions (Ct. Rec. 167) is GRANTED.             The Defendant is allowed to

18   have contact with Erica Sheppard.

19         DATED August 21, 2008.

20
21                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO MODIFY - 1
